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 7

 8                             UNITED STATES DISTRICT COURT

 9                         NORTHERN DISTRICT OF CALIFORNIA

10                                  OAKLAND DIVISION

11
     WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
13   corporation,                              DEFENDANTS NSO GROUP
                  Plaintiffs,                  TECHNOLOGIES LIMITED AND Q
14                                             CYBER TECHNOLOGIES LIMITED’S
           v.                                  NOTICE OF EMERGENCY MOTION
15                                             AND EMERGENCY MOTION FOR A
     NSO GROUP TECHNOLOGIES LIMITED            STAY OF PORTIONS OF THE ORDER
16   and Q CYBER TECHNOLOGIES LIMITED,         DENYING IN PART MOTION TO SEAL
17
                 Defendants.                   Judge: Hon. Phyllis J. Hamilton
18
                                               Hearing Date: May 8, 2025
19                                             Hearing Time: 1:30 p.m.
20

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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that on May 8, 2025, at 1:30 p.m., or as soon as this matter may

 3 be heard pursuant to the Motion to Expedite Briefing filed contemporaneously herewith,1

 4 Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (collectively, the

 5 “Defendants”) will move, and hereby do move, this Court for a stay of its recent order on sealing

 6 issues with respect to the following documents identified in Exhibit A to Defendants’ Unopposed

 7 Omnibus Administrative Motion to File Under Seal (Dkt. No. 550-1):

 8          Documents with Employees’ Names for which Redaction is Sought: Rows 5, 6, 7, 8, 11, 13,

 9 18, 19, 29, 34, 36, 43, 68.

10          Israeli Export Controlled Documents: Rows 1, 2, 3, 5, 7, 9, 10, 13, 16, 17, 22, 25, 26, 29, 30,

11 31, 32, 33, 35, 38, 41, 42, 43, 52, 53, 55, 56, 60, 61, 62, 63, 64, 65, 66, 73, 75, 76, 77, 82, 85 and 87

12          Documents Making Reference to Confidential Foreign Proceedings for which Redaction is
13 Sought: Rows 49, 70, 71 (Dkt. 405-4, Block Decl. Exhs. D-G only), 72 (Dkt. 405-4, Block Decl.

14 Exh. I only).

15          These documents are also identified in more detail in a table in the accompanying Proposed
16 Order.

17          Defendants respectfully request that the Court stay those portions of its Order denying in
18 part Defendants’ Motion to Seal, see Dkt. No. 633 (“Order on Sealing”) affecting the documents

19 listed above, pending resolution of Defendants’ Motion for Leave to File a Motion for

20 Reconsideration, which Defendants intend to file on Tuesday, April 1, and any reconsideration by

21 the Court. The portions of the Order on Sealing for which Defendants seek a stay and the particular

22 documents at issue are set forth on a table in the Proposed Order accompanying this Motion. A stay

23 is necessary to prevent Defendants from being irreparably harmed by the disclosure of highly

24
     1
25   May 8 is the earliest date on which Defendants may notice a hearing under Local Civil Rule 7-2.
   Pursuant to Defendants’ Emergency Motion for Expedited Briefing Schedule, or, in the Alternative,
26 for an Administrative Stay, however, Defendants are asking that the Court shorten the time for
   briefing and hearing on this Motion for Stay so that it will be fully briefed by April 2, 2025, or that
27 the Court extend the date on which disclosure is due (currently April 4, 2025) until after the Court

28 has considered this Motion for Stay.
                                                       1
     DEFENDANTS’ EMERGENCY                                                     Case No. 4:19-cv-07123-PJHH
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 1 sensitive and proprietary technical and other export-controlled information, the public disclosure of

 2 which would be damaging to Defendants and third parties; to prevent disclosure of information that

 3 the Government of Israel has strictly controlled under law for reasons familiar to the Court; and to

 4 prevent irreparable harm to Defendants’ non-testifying employees, who will have their personal

 5 information disclosed. A stay would also serve the interests of judicial economy, both for this Court

 6 and potentially for the Ninth Circuit. Given the vitally important interests at stake and Defendants’

 7 obligations under Israeli law to make every effort to protect the information at issue, Defendants

 8 will need to seek interlocutory relief in the Ninth Circuit if the forthcoming Motion for Leave to

 9 Seek Reconsideration is unsuccessful.

10          Defendants are currently required to publicly file the information at issue here by April 4,

11 2025. Accordingly, Defendants are simultaneously requesting expedited briefing on this Motion

12 and respectfully request that the Court rule on this Motion no later than 12:00 p.m. PDT on

13 April 3, 2025. Defendants respectfully inform the Court that, given the April 4 deadline for publicly

14 filing documents, if the Court has not ruled on this stay request by noon on April 3, in order to meet

15 their obligations under Israeli law, Defendants will be required to seek interlocutory relief from the

16 Ninth Circuit pursuant to the collateral order doctrine.

17 I.       STATEMENT OF ISSUE

18          Whether, to avoid irreparable harm and promote judicial economy, the Court should stay

19 portions of the Order on Sealing denying in part Defendants’ Motion to Seal, with respect to the

20 documents identified in the accompanying Proposed Order, until the Court rules on Defendants’

21 forthcoming Motion for Leave to File a Motion Reconsideration and any reconsideration by the

22 Court.

23 II.      BACKGROUND

24          At the Court’s direction, Defendants submitted an Unopposed Omnibus Administrative

25 Motion to File Under Seal, Dkt. No. 550, collecting prior requests to seal documents or information

26 submitted in connection with Defendants’ filings related to the parties’ cross-motions for summary

27 judgment and Plaintiffs’ motion for sanctions. See Dkt. Nos. 396, 399, 405, 413, 417, 418, 419,

28 429, 433, 436, 443, 446, 454. Before submitting the motion, the parties met and conferred on several
                                                      2
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 1 occasions, and Plaintiffs did not oppose any of the relief sought by Defendants in the motion. Dkt.

 2 Nos. 550 at 1.2 On March 21, 2025, the Court entered an Order on Sealing granting in part and

 3 denying in part the motion. Dkt. No. 633. The Court found that Defendants (like Plaintiffs) had

 4 sought to seal entire documents rather than redact only the “truly sensitive information.” Dkt. No.

 5 633 at 3–4. The Court held that, “[t]o the extent that either party requests the sealing of an entire

 6 document when it would have been possible to instead redact the sensitive information, those

 7 requests [are] denied.” Dkt. No. 633 at 4. As a result, the Court ordered disclosure even of

 8 information that the Court acknowledged would otherwise meet the standard for sealing because

 9 Defendants’ motions had not been sufficiently tailored to isolate that particular information.

10          For example, the Court denied Defendants’ requests to seal the “names of defendants’ non-

11 testifying employees” and thus ordered disclosure of that information. Dkt. No. 633 at 7 (denying

12 this request as to one particular declaration exhibit and “any other [such] documents”). In ruling on

13 Plaintiffs’ parallel omnibus motion to seal, however, the Court acknowledged that the personal

14 information of non-testifying employees was properly kept sealed. Dkt. No. 633 at 5–6. Under the

15 current Order on Sealing, Defendants’ non-testifying employees will have their personal

16 information (including private WhatsApp account numbers) publicly exposed simply because

17 Defendants’ motion—even though it provided a sound basis to keep that information sealed—did

18 not sufficiently tailor the request for sealing.

19          Similarly, the Court denied Defendants’ requests to seal “highly confidential technical and

20 commercially sensitive materials” designated under the protective order, including documents

21 reflecting the functioning of its source code and other technology, Dkt. No. 633 at 8, as well as, in

22 some instances, requests to seal documents containing discussion of sealed foreign court

23 proceedings and orders, id. at 11 (noting that Defendants sought “to seal entire documents rather

24 than making limited redactions of truly sealable material”). Although the Court granted Defendants’

25 requests to seal source code present in several documents, see Dkt. No. 633 at 9, its Order on Sealing

26
     2
27   Although the Court “intended the parties to file a single, combined omnibus motion,” each party
   instead separately filed its own “omnibus” motion. Dkt. 633 at 2. Defendants regret this
28 misunderstanding and the burden it placed on the Court.
                                                      3
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 1 requires Defendants to disclose confidential technical information that would reveal equivalent

 2 proprietary information about how the software works.

 3          The Court also denied Defendants’ request to seal limited portions of six documents

 4 containing references to confidential and non-public foreign orders.

 5          Defendants do not contest much of the Order on Sealing, including its denial of Defendants’

 6 requests relating to NSO’s revenues, its financial and accounting practices, and the corporate and

 7 legal structure of NSO’s affiliates. Defendants do, however, request a stay of the portions of the

 8 Order on Sealing denying sealing requests related to three categories of information—(1) personally

 9 identifiable information concerning Defendants’ employees, (2) technical and other export

10 controlled information regarding Defendants’ technology, and (3) confidential information

11 pertaining to sealed foreign proceedings—that, if disclosed, would cause Defendants irreparable

12 harm.3

13          First, Defendants will seek reconsideration of the Court’s determination to make public
14 personally-identifiable information of Defendants’ employees who are not witnesses in this

15 litigation, including the employees’ names and email addresses.           See Dkt. No. 550 § II.E.
16 Defendants sought to seal their non-testifying employees’ information—e.g., “names, emails, phone

17 numbers”—arguing that courts have long recognizes that “third-party privacy interests” present

18 compelling reasons to justify sealing. Dkt. No. 550 at 6. In denying Defendants’ request to seal

19 these documents, the Court reasoned that Defendants had sought to “seal the entire document …

20 rather than redacting the names of those employees,” explained that the Court would not “rewrite”

21 the sealing request, and ordered Defendants to reveal those employee names and their personal

22 information. Dkt. No. 633 at 7.4 In contrast, reviewing Plaintiffs’ requests to seal the names of non-

23 testifying employees, the Court noted that Plaintiffs sought “redactions of only those names” “rather

24 than filing the entire documents under seal,” and granted Plaintiffs’ motion as to those requests.

25
     3
     The specific documents at issue are set forth in the Proposed Order accompanying this Motion.
26   4
     The Court did, however, permit Defendants to “redact personal phone numbers to the extent they
27 appear” in a small number of the twenty-one documents containing personal information of
   employees who are not witnesses in this litigation. Compare Dkt. 550 at 6, with Dkt. 633 at 9
28 (allowing Defendants to “redact personal phone numbers” that appear in certain exhibits”).
                                                      4
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 1 Dkt. No. 633 at 5–6. As a result, under the Court’s current ruling, Plaintiffs’ non-testifying

 2 employees will have their personal information protected, while Defendants’ non-testifying

 3 employees will not, solely because—through no fault of the employees themselves—Defendants’

 4 motion was not sufficiently tailored.

 5          Second, Defendants will seek reconsideration of the Court’s denial of requests to seal highly

 6 sensitive, non-public information regarding Defendants’ technology, including confidential and

 7 competitive technical information, the disclosure of which would reveal the functioning of

 8 Defendants’ software. See Dkt. No. 550 § II.B. Defendants sought to seal this information,

 9 explaining that they “are required to seek sealing of these materials in this proceeding for the reasons

10 set forth in the Craig Decl. ¶ 11.” Dkt. No. 550 at 4–5; see id. at 4. In denying in part Defendants’

11 requests to seal these documents, the Court disregarded that disclosing “competitive sensitively

12 technical information” regarding the “development” and “functioning of Defendants’ technology,”

13 Dkt. No. 550 at 5, would have the same practical effect as disclosing Defendants’ source code,

14 which the Court has ordered to be redacted and sealed. Dkt. No. 633 at 4, 9.

15          Third, Defendants will seek reconsideration of the Court’s denial of the requests to seal

16 (i) Opposition to Defendants’ limited portions of Exhibit 43 to the Block Declaration in support of

17 Plaintiffs’ Motion for Summary Judgment (Dkt. No. 418-5, Request for Admission No. 5 and

18 Response thereto), which contain references to highly confidential and sealed foreign court

19 proceedings and orders, and (ii) Exhibits A, C-G, and H-K to the Block Declaration in support of

20 Plaintiff’s Motion for Sanctions (Dkt. No. 405-4) (same). Dkt. No. 550 § II.A. Defendants asked

21 to seal Exhibits and portions of an Exhibit to the Block Declaration containing discussion of these

22 sealed, confidential foreign proceedings, explaining that this information should remain sealed “[i]n

23 the interests of comity and out of respect for the applicable legal interests that affect such

24 information” and expressly referring the Court to a substantially redacted paragraph in the Craig

25 Declaration that advances “additional argument” on this issue. Id.; see Dkt. No. 419-1, Craig Decl.

26 ¶ 11. Dkt. No. 550 at 4. Defendants believe the Court’s denial of these requests may have been

27 inadvertent in light of its rulings granting sealing of certain attorney declarations and other

28 documents discussing similar subject matter.
                                                       5
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 1 III.        LEGAL STANDARD

 2             In ruling on a motion to stay an interlocutory order, a district court considers (1) whether the

 3 applicant has shown a “substantial case for relief on the merits” or likelihood of success on the

 4 merits; (2) whether the applicant will be “irreparably injured” absent a stay; (3) whether issuance of

 5 the stay will substantially injure the other parties interested in the proceedings; and (4) whether the

 6 public interest lies. Lair v. Bullock, 697 F.3d 1200, 1203–04 (9th Cir. 2012); see Nichols v. Brown,

 7 No. 11-cv-09916, 2013 WL 12579750, at *1–2 (C.D. Cal. July 18, 2013). Under the Ninth Circuit’s

 8 “sliding scale” approach, “a strong[] showing of one element may offset a weaker showing of

 9 another.” Leiva-Perez v. Holder, 640 F.3d 962, 964–66 (9th Cir. 2011) (per curiam) (citation

10 omitted). The first two factors, however, are the “most critical.” Nken v. Holder, 556 U.S. 418,

11 434–35 (2009). The party requesting a stay bears the burden of showing that the circumstances

12 justify an exercise of the court’s discretion. Id. at 433–34; see Hilton v. Braunskill, 481 U.S. 770,

13 777 (1987) (“[T]he traditional stay factors contemplate individualized judgments in each case.”).

14 IV.         LEGAL ARGUMENT

15             All four traditional factors favor a stay in this case. First, Defendants are likely to succeed

16 on the merits and, at a minimum, present a substantial question on the merits, because they have

17 strong arguments that the Order on Sealing manifestly failed to consider materials facts and

18 dispositive legal arguments on three categories of information presented in Defendants’ Motion.

19 Second, Defendants will suffer irreparable injury absent a stay. Without a stay, Defendants’ non-

20 testifying employees will have their personal information irretrievably made public, subjecting them

21 to potential harassment. And Defendants will suffer irreparable harm from the public disclosure of

22 proprietary and highly sensitive technical information about the operation of Defendants’ software.

23 Third, Plaintiffs will not be injured at all—let alone substantially harmed—by a stay. Plaintiffs did

24 not oppose keeping all of this information permanently under seal. Fourth, the public interest cuts

25 in favor of a stay and reconsideration before the Court orders disclosure of information that the

26 Government of Israel has deemed important, as discussed in numerous sealed filings in this action,

27 and the personal information of Defendants’ employees.

28        A.      Defendants Have Shown a Substantial Case for Relief on the Merits Because the
                                                          6
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 1                Order on Sealing Manifestly Fails to Consider Material Facts and Dispositive Legal
                  Arguments.
 2
             To satisfy the first factor in the stay analysis, an applicant must show only that “there is a
 3
     substantial case for relief on the merits,” not that it is “more likely than not that they will win on the
 4
     merits.” Lair, 697 F.3d at 1204; see Leiva-Perez, 640 F.3d at 968 (explaining that this first factors
 5
     asks “whether the stay petitioner has made a strong argument on which he could win”). Defendants
 6
     readily meet that standard.
 7
             Under Local Rule 7-9, to notice a motion seeking reconsideration of an interlocutory order,
 8
     a party must obtain leave of court. Civil L.R. 7-9(a). “[A] party may seek leave to file a motion for
 9
     reconsideration if it shows reasonable diligence and a ‘manifest failure by the Court to consider
10
     material facts or dispositive legal arguments which were presented to the Court before such
11
     interlocutory order.’” Earth Island Inst. v. Wheeler, No. 20-cv-00670, 2020 WL 12044119, at *1
12
     (N.D. Cal. Sept. 1, 2020) (quoting N.D. Cal. Civil L.R. 7-9(b)(3)). Whether to grant such leave “is
13
     committed to the court’s sound discretion.” Hestia Educ. Grp., LLC v. King, No. 15-cv-01463, 2016
14
     WL 1323079, at *1 (N.D. Cal. Apr. 5, 2016); see PostX Corp. v. Secure Data in Motion, No. 02-cv-
15
     04483, 2005 WL 8177635, at *1 n.1 (N.D. Cal. Aug. 31, 2005) (granting leave to file, and ultimately
16
     granting, motion for reconsideration on this ground).
17
             On all three categories of information, Defendants have strong arguments that the Order on
18
     Sealing manifestly fails to consider material facts or dispositive legal arguments that were presented
19
     in Defendants’ Motion. In addition, as explained below, the Court’s Order on Sealing resulted in
20
     inconsistent rulings that Defendants could not have anticipated and addressed in prior briefing, and
21
     that, too, provides a strong basis for reconsideration.
22
             1.      Personally Identifiable Information Concerning Defendants’ Employees.
23
             Defendants have a strong argument on the merits that the Court should reconsider its Order
24
     on Sealing requiring disclosure of personally identifiable information of Defendants’ employees
25
     who are not witnesses in this litigation, including the employees’ names and contact information
26
     (e.g., WhatsApp/telephone numbers). See Dkt. No. 550 § II.E. The Court’s disparate treatment of
27
     the non-testifying witnesses for the parties—on the ground that Defendants sought to seal entire
28
                                                         7
     DEFENDANTS’ EMERGENCY                                                       Case No. 4:19-cv-07123-PJHH
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 1 documents containing employees’ names while Plaintiffs sought to redact only employees’ names—

 2 punishes Defendants’ employees for actions and circumstances completely outside their control.

 3 Defendants respectfully submit that the disparate treatment of their employees manifestly disregards

 4 the material fact that the names of Defendants’ non-testifying employees—just like those of

 5 Plaintiffs’—are irrelevant to the disposition of the case. So too, this ruling disregards the dispositive

 6 legal point that revealing the names of such non-testifying employees implicates “important privacy

 7 concerns of nonparties” that substantially outweigh any negligible public interest in exposing the

 8 names of employees who have not testified in this matter. Hunt v. Cont’l Cas. Co., No. 13-cv-

 9 05966, 2015 WL 5355398, at *2 (N.D. Cal. Sept. 14, 2015); see Foltz v. State Farm Mut. Ins. Co.,

10 331 F.3d 1122, 1137 (9th Cir. 2003).

11          In addition, although these materials would reveal confidential and personally identifiable

12 information concerning third parties, the Court’s Order on Sealing manifestly fails to

13 “conscientiously balance[] the competing interests” between the public’s right of access and the

14 interests of third parties in shielding their personal information from public view. Foltz v. State

15 Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). As courts have recognized, sealing

16 is appropriate where a party can “[s]imply redact[] the identifying information of third parties” from

17 “records and disclos[e] the remaining information.” Id. at 1137. Here, the Court conducted no

18 balancing, instead concluding that it would “issue up-or-down rulings on the requests” as presented.

19 Dkt. No. 633 at 4, 7. Not balancing competing interests warrants reconsideration. See Finjan, Inc.

20 v. Juniper Networks, Inc., 826 F. App’x 928 (Fed. Cir. 2020) (vacating portion of unsealing order

21 for similar reasons); cf. Foltz, 331 F.3d at 1137 (concluding that “third-party … personnel records

22 [should] be redacted … to protect third-party privacy interests).

23          At bottom, the practical effect of the Court’s Order on Sealing is to impose a sanction—the

24 brunt of which will be borne by blameless non-testifying employees—by ordering disclosure of

25 information that concededly meets the standard for sealing, based solely on Defendants’ failure to

26 more narrowly tailor their motion. But the Court did not cite any precedent supporting such a ruling

27 that effectively penalized non-parties and exposes their personally identifiable information merely

28 for a litigant’s failure to more narrowly tailor a motion designed to protect indisputably protectable
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 1 information. And as explained, the case law cuts against such a result penalizing non-parties. The

 2 Defendants thus have strong arguments on the merits that the Court should reconsider its Order on

 3 Sealing to provide parallel treatment for Defendants’ non-testifying employees and Plaintiffs’ non-

 4 testifying employees. That is, the Court should allow the personally identifiable information to be

 5 redacted from the documents cited in Defendants’ Motion, Dkt. No. 633 at 6.

 6          2.     Technical Information Regarding Defendants’ Technology.

 7          On Defendants’ requests to seal highly sensitive, non-public information regarding

 8 Defendants’ technology, Defendants have strong arguments for reconsideration on at least two

 9 grounds. First, the Order on Sealing fails to account for substantial international comity interests.

10 As courts have recognized, sealing “nonpublic government information” from “a foreign

11 government” is “essential to preserve higher values,” and “the principle of international comity

12 counsels in favor of protecting [such] document[s] from disclosure.” Omari v. Ras Al Khaimah

13 Free Trade Zone Auth., No. 16-cv-3895, 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017)

14 (citations omitted) (sealing White Paper). Indeed, refusing to seal technical information that must

15 be protected under Israeli export control laws—and thus is “not publicly accessible”—“would harm

16 the integrity of those respective judicial systems,” and a “concern for comity” provides “compelling

17 reasons” to seal such information. Compal Elec., Inc. v Apple Inc., No. 17-cv-01010, 2017 WL

18 11423604, at *3 (S.D. Cal. Sept. 5, 2017); cf. Accent Delight Int’l Ltd. v. Sotheby’s, No. 18-cv-9011,

19 2019 WL 2602862, at *9 (S.D.N.Y. June 25, 2019) (holding that, under principles of comity, where

20 a foreign court has taken under advisement whether to keep a document sealed, the District Court

21 would permit the foreign court to “rule on the issue in the first instance”). As Defendants explained,

22 they “are required to seek sealing of these materials in this proceeding for the reasons set forth in

23 the Craig Decl. ¶ 11.” Dkt. No. 550 at 5; see id. at 4 (citing Compal Elec., 2017 WL 11423604 at

24 *3 and Omari, 2017 WL 3896399 at *14). The Court’s manifest disregard for the critical comity

25 interests implicated by this information provides firm grounds for reconsideration.

26          Second, Defendants respectfully submit that the Court’s Order on Sealing requiring

27 disclosure of technical information about the operation of Defendants’ software is internally

28 inconsistent with the ruling that the source code itself should remain sealed. The Court’s ruling
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 1 effectively disregards the material fact that disclosing “competitive sensitively technical

 2 information” regarding the “development” and “functioning of Defendants’ technology,” Dkt. No.

 3 550 at 5, would have the same practical effect as disclosing Defendants’ source code, which the

 4 Court has ordered to be sealed. Dkt. No. 633 at 4, 9. It would publicly disclose propriety details

 5 about the functioning of the software that would be irreparably damaging to Defendants’ business.

 6 See Declaration of Tamir Gazneli (“Gazneli Decl.”) ¶¶ 2 (providing example of technical

 7 information as to which sealing was denied, and explaining how it shows the precise operation of

 8 the software).

 9          Failing to account for this practical reality has resulted in a ruling that effectively nullifies

10 the Court’s Order on Sealing regarding Defendants’ source code and clashes with the decisions of

11 numerous courts in this District, which have regularly concluded that there are compelling reasons

12 to seal documents that reveal details about a company’s technology. See Finjan, Inc. v. Cisco Sys.

13 Inc., No. 17-cv-00072, 2019 WL 4168952, at *2 (N.D. Cal. Sept. 3, 2019) (sealing material that

14 “reveals the identification, organization, and/or operation of Cisco’s proprietary products”); Reyna

15 v. Arris Int’l PLC, No. 17-cv-01834, 2018 WL 1400513, at *2 (N.D. Cal. Mar. 20, 2018) (sealing

16 information that provides “insights into Intel’s hardware and software architecture”); Synchronoss

17 Techs., Inc. v. Dropbox Inc., No. 16-cv-00119, 2017 WL 11527607, at *2 (N.D. Cal. Dec. 27,

18 2017) (sealing “proprietary business information about the architecture of Synchronoss’s

19 technology”); Delphix Corp. v. Actifio, Inc., No. 13-cv-04613, 2014 WL 4145520, at *2 (N.D. Cal.

20 Aug. 20, 2014) (sealing “information regarding Delphix’s product architecture and development”).

21          3.      Confidential Information Pertaining to Sealed Foreign Proceedings.

22          On Defendants’ requests to seal Exhibits and portions of Exhibits to the Block Declaration

23 in support of Plaintiffs’ motion for sanctions (Dkt. 405-4) containing discussion of sealed foreign

24 government proceedings, the Court’s ruling is inconsistent with its rulings permitting redacting and

25 sealing of other documents that reference the same confidential foreign government proceedings.

26 See Doc. 633 at 10–11 (granting motion to seal as to portions of Craig Declaration [Dkt. 396-1],

27 Block Declaration [Dkt. 405-3], Dawson Declaration [Dkt. 433-1], and Gelfand Declaration [Dkt.

28 429-19] on this ground). Defendants respectfully submit that this may have been an oversight in
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 1 the Order on Sealing. Disclosing these documents would effectively undermine the Court’s ruling

 2 permitting other documents referencing the same foreign government proceedings to be sealed.

 3 Given the important international comity interests involved, Defendants should be permitted to

 4 redact all references to those proceedings. Dkt. 550 at 4; Dkt. 419-1, Craig Decl. ¶ 11; see In re

 5 Terrorist Attacks on Sept. 11, 2001, 2020 WL 1181943, at *5 (S.D.N.Y. Mar. 12, 2020) (noting

 6 “particularly important” comity considerations when it comes to foreign sovereigns); Compal Elec.,

 7 2017 WL 11423604 at *3.

 8      B.      Defendants and Defendants’ Non-Testifying Employees Will Suffer Irreparable
                Harm Absent a Stay.
 9
             Defendants can also readily show that “irreparable harm is probable if the stay is not
10
     granted.” Leiva-Perez, 640 F.3d at 968; see Lair, 697 F.3d at 1214 (explaining that the applicant
11
     must show “a probability of irreparable injury”) (emphasis original).
12
             To begin with, Defendants will be irreparably harmed without a stay because, if they comply
13
     with the Order and disclose these categories of information, Defendants would lose their ability to
14
     challenge the Order. “Secrecy is a one-way street: Once information is published, it cannot be
15
     made secret again. An order to unseal thus ‘conclusively determine[s]’ that the information will be
16
     public. For the same reason, such an order is ‘effectively unreviewable on appeal from a final
17
     judgment.’” In re Copley Press, Inc., 518 F.3d 1022, 1025 (9th Cir. 2008); see Providence Journal
18
     v. Fed. Bureau of Investigation, 595 F.2d 889, 890 (1st Cir. 1979) (“Once the documents are
19
     [disclosed] pursuant to the lower court’s order, confidentially will be lost for all time. The status
20
     quo could never be restored.”). Simply put, failing to grant a stay here will “entirely destroy
21
     [Defendants’] rights to secure meaningful review.” Id.at 890. Accordingly, Defendants will suffer
22
     certain and irreparable harm without a stay of the Order. See Seidl v. Am. Century Cos., Inc., No.
23
     10-cv-4152, 2014 WL 10937513, at *8 (W.D. Mo. July 2, 2014) (staying order to unseal documents
24
     to prevent the information from being revealed “before Defendants could protect their interests by
25
     seeking appellate review”); In re Search Warrant for Second Floor Bedroom, 489 F. Supp. 207, 212
26
     (D.R.I. 1980) (granting motion to unseal document but staying decision “[t]o preserve the status quo
27
     and to prevent irreparable harm”).
28
                                                      11
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 1          In addition, absent a stay, Defendants face irreparable injury to their business, including their

 2 relationships with customers and competitive advantage in the marketplace. Defendants will suffer

 3 such harm by being forced to disclose their proprietary and technical information about the operation

 4 of their software, which will allow competitors to unfairly compete with Defendants and place

 5 Defendants at a severe disadvantage in the marketplace. See Leap Sys., Inc. v. Moneytrax, Inc., No.

 6 05-cv-1521, 2010 WL 2232715, at *9 (D.N.J. June 1, 2010) (refusing to unseal business document

 7 containing confidential information and holding that “the public’s right of access does not outweigh

 8 the irreparable harm that [the company] would suffer if the terms were unsealed” where “business

 9 competitors may use the information to unfairly compete with [the company], thereby placing [it]

10 at a severe tactical disadvantage”). As explained in the Declaration of Tamir Gaznel, the technical

11 information included in documents such as the McGraw Declaration submitted in support of

12 Defendants’ Motion for Summary Judgment (Dkt. No. 396-4), see Gazneli Decl. ¶ 2, provide a

13 precise description of how Defendants’ software operates and would permit others to deduce

14 Defendants’ research and working methods, their capabilities and strategies, and could also be used

15 to determine how Defendants identify vulnerabilities to facilitate lawfully ordered surveillance of

16 criminal and terrorist suspects, id. at ¶ 3. As a practical matter, this information about the operation

17 of the software is of substantially the same nature as what can be learned from the source code. Id.

18 at ¶ 2. As a result, revealing the technical material would have the same effect as revealing parts of

19 the source code, which the Court acknowledged should remain sealed given the irreparable harm

20 that would result from its release.

21          In addition, absent a stay, Defendants will be forced to reveal information that is controlled

22 under Israeli export control laws and that, under the terms of their licenses, Defendants must make

23 every effort to keep under seal. Forcing Defendants to publicly disclose that information would

24 threaten Defendants’ ability to maintain its relationship with the government, which is needed for

25 Defendants to timely and expeditiously receive export licenses that are necessary to conduct its

26 business. See Dkt. No. 419-1, Craig Decl. ¶ 11.

27          Disclosing the names of non-testifying employees would also cause irreparable harm, both
28 to Defendants’ employees and to Defendants’ business. The employees will irretrievably have their
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 1 information publicly disclosed, thus exposing them to potential harassment given the highly charged

 2 issues at stake in this case. As explained in the Michal Alcheh Declaration, when NSO Group

 3 employees become known, they are sometimes targeted by anti-Israel organizations. Michal Alcheh

 4 Decl. ¶ 4. And Defendants’ business will be impaired by the loss of employees’ confidence in the

 5 ability of the business to protect their information. Id. at ¶ 5. Given the national security field in

 6 which Defendants operate, credible pledges of confidentiality to employees are essential for

 7 recruiting and retaining top talent. Id.; see Marsh USA Inc. v. Karasaki, No. 08-cv-4195, 2008 WL

 8 4778239, at *14 (S.D.N.Y. Oct. 31, 2008).

 9      C.      A Stay Will Cause Plaintiffs No Harm and the Public Interest Favors a Stay.

10           Factors three and four, which require the Court to weigh the public interest “against the harm

11 to the opposing party,” also clearly favor a stay. Lair, 697 F.3d at 1215 (citing Nken, 556 U.S. at

12 435); see Leiva-Perez, 640 F.3d at 964–66 (holding that the stay inquiry is “flexible” and involves

13 an equitable balancing of stay factors). In contrast to the irreparable injury Defendants face without

14 a stay, Plaintiffs will suffer no harm whatsoever from a stay. Indeed, Plaintiffs conceded as much

15 when they chose not to oppose any part of the relief sought in Defendants’ Omnibus Motion to Seal.

16 Dkt. No. 550 at 1. Even if Defendants’ motion for reconsideration is ultimately unsuccessful,

17 granting a stay would do no more than “postpone[] the moment of disclosure … by whatever period

18 of time” it takes to resolve Defendants’ motion and any reconsideration by the Court, and potentially

19 any subsequent appeal. Providence Journal, 595 F.2d 890.

20           The public interest also overwhelmingly favors a stay. As explained, supra § IV.A, the

21 Order on Sealing implicates important international comity and security considerations, requires

22 release of confidential technology documents that Plaintiffs did not object to sealing, and disparately

23 treats—through no fault of their own—identically situated non-testifying employees. There is no

24 public interest in disclosing details of how Defendants’ software operates or information that the

25 government of Israel has determined must be controlled under export control laws. As explained in

26 the Declaration of Tamir Gazneli, disclosure would also “allow third parties, including hostile state

27 parties, to deduce Defendants’ research and working methods, Defendants’ capabilities and

28 strategies, and could also be used to determine how Defendants identify vulnerabilities and develop
                                                       13
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 1 tools to facilitate lawfully ordered surveillance of criminal and terrorist suspects.” Gazneli Decl.

 2 ¶ 3. At the same time, there is a substantial public interest in preventing potentially hostile countries

 3 and individuals from obtaining that information. And there is plainly no public interest in exposing

 4 the names of employees who did not testify in this matter—that is why Plaintiffs’ employees’ names

 5 are remaining under seal. Given all this, the public interest weighs in favor of staying the portions

 6 of the Order on Sealing at issue here so that Defendants can at least have their request for

 7 reconsideration fully briefed and considered on the merits. Even if the Court ultimately disagrees

 8 with the merits of Defendants’ forthcoming Motion for Leave to File for Reconsideration, that

 9 motion will raise important legal issues—particularly those involving international comity and

10 respect for foreign proceedings—that warrant full briefing and consideration by the Court and on

11 which, if necessary, Defendants should be afforded sufficient time to pursue interlocutory relief in

12 the Ninth Circuit.

13 IV.      CONCLUSION

14          For the foregoing reasons, the Court should grant Defendants’ Emergency Motion for a

15 Stay pending resolution of Defendants’ Motion for Leave to File a Motion for Reconsideration

16 and any reconsideration by the Court.

17    DATED: March 28, 2025                            KING & SPALDING LLP

18                                                     By: /s/ Joseph N. Akrotirianakis
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19                                                         AARON S. CRAIG
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21                                                            CYBER TECHNOLOGIES LIMITED
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